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                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

  UNITED STATES OF AMERICA,
                                                         Case No. 11-20551-18
               Plaintiff,
                                                         Judge Robert H. Cleland
  v.

  ADELFO PAMATMAT



             Defendant .
  ___________________________________/
                                  AMENDED
              ORDER SETTING SENTENCING AND DEADLINE DATES
                    AND IMPOSING OTHER RESPONSIBILITIES

        The Defendant having been convicted and referred to the Probation Department for

  the preparation of a Presentence Report (PSR), IT IS ORDERED as follows:

  1)    Sentence will be imposed on May 19, 2016 at 2:00 PM. If a custodial sentence is

        imposed, the defendant must be prepared to submit to custody on the day of

        sentencing.

  2)    On or before March 31, 2016, the PSR must be submitted to counsel by the

        Probation Officer for review and possible objections.

  3)    On or before April 14, 2016, any PSR objection must be stated to the Probation

        Officer (but cannot be filed on the docket). In stating an objection, counsel must use

        a format substantially similar to the attached Addendum. A purported PSR

        objection originating in a letter, an e-mail, a “sentencing memorandum,” etc., will be

        rejected by the Probation Officer and returned to the party who provided it.

  4)    On or before April 28, 2016, the proposed final form of the PSR must be delivered

        to the court by the Probation Department.
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  5)    Not later than May 5, 2016, any request by either party for a departure or variance

        from the Guidelines range must be presented in the form of a motion with a

        supporting brief.

  6)    Not later than SEVEN DAYS before sentencing, any opposition to the other party’s

        motion for departure or variance motion must be filed.

  7)    A Sentencing Memorandum is optional,1 but due SEVEN DAYS before

        sentencing.

  8)    Counsel must provide a copy of any motion, opposition to a motion, and

        memorandum to the Probation Officer.

  9)    Allocution at sentencing will ordinarily not exceed ten minutes for Defendant’s

        counsel, ten minutes for Defendant and ten minutes for government counsel.


                                   s/Robert H. Cleland
                                   Robert H. Cleland
                                   United States District Judge

  Dated: January 3, 2016

  I hereby certify that a copy of the foregoing document was served upon counsel of record
  on January 3, 2016, by electronic and/or ordinary mail.

                                   s/Lisa Wagner
                                   Case Manager




        1
         A sentencing memorandum is often superfluous in light of a motion for variance,
  and more important in the absence of such a motion. Memoranda are ordinarily
  reviewed by the court in the few days leading to sentencing. Do not use a sentencing
  memorandum as a substitute for a motion for a USSG departure or 18 USC
  §3553(a)(2) variance in sentence.
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                                      SAMPLE
                            PRESENTENCE REPORT ADDENDUM

  Defendant’s name:                                   Page #:
  Docket #:                                           Paragraph #:
  Date:                                               Line(s) #:
  Objection #:

  Section I: Defendant’s/Government’s objection:




  _____________________________                        _________________________________
  Attorney’s signature                                 I affirm the truth of every factual statement above.
                                                       Defendant’s signature

  Section II: Probation officer’s comments:




                                      Instructions for counsel
                  (Do not replicate instructions on the Addendum to be submitted)

  1)    Provide all objections directly to the Probation Officer, and do not file them on the docket.

  2)    Any objection or claim that a guideline or application note has been incorrectly applied or
        omitted must be accompanied by a clear explanation. Saying only that “the defendant
        disputes” a fact without providing an alternate explanation or reference to specific evidence
        is generally unavailing.

  3)    Do not use the Addendum format or the formal “objection” process to merely
        •      point out a minor factual error, i.e., those that have no effect on guideline
               calculations nor forms the basis for a departure. Such claims may be presented to
               the Probation Officer by letter or memorandum.
        •      argue a mechanical result or an alternate guideline calculation that depends on the
               resolution of a challenged factual item.
        •      react to required PSR comments such as factors for possible departure. Such
               matters may be presented to the court in the form of a sentencing memorandum.

  4)    When a party has presented a material objection that has not been accepted by the
        Probation Officer and remains for resolution by the court, any opposition must expressed in
        writing whether or not the court specifically orders a response. Always provide a copy to the
        Probation Officer. Responses should correspond to the numbering of the objection(s) and
        clearly explain the party’s position in reaction to the objection.
